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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-0171-MCE

12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER

14   FIDEL SANCHEZ-CRUZ, AND                             DATE: January 9, 2020
     AGUSTIN CRUZ-SANCHEZ,                               TIME: 10:00 a.m.
15                                                       COURT: Hon. Morrison C. England, Jr.
                                  Defendants.
16

17                                               STIPULATION

18          1.      By previous order, this matter was set for status on January 9, 2020.

19          2.      In a minute order issued on December 18, 2019, the Court continued the January 9, 2020,

20 status conference to April 16, 2020, and encouraged the parties to file a notice of exclusion of time if
21 amenable. See ECF No. 84.

22          3.      By this stipulation, defendants now move to continue the status conference until April 23,

23 2020, and to exclude time between January 9, 2020, and April 23, 2020, under Local Code T4.

24          4.      The parties agree and stipulate, and request that the Court find the following:

25                  a)     The government has represented that the discovery associated with this case

26          includes more than 13,000 pages of investigative reports, photographs, and other documents, as

27          well as video and audio recordings. All of this discovery has been either produced directly to

28          counsel and/or made available for inspection and copying. In addition, the government has

      STIPULATION REGARDING EXCLUDABLE TIME              1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1        produced to defendant Cruz-Sanchez the contents of his seized cell phone, consisting of

 2        hundreds of photographs, videos, and other files.

 3               b)      Counsel for defendants desire additional time to review the discovery and discuss

 4        it with their clients, to conduct investigation, to evaluate a potential motion to suppress, and to

 5        otherwise prepare for trial.

 6               c)      Counsel for defendants believe that failure to grant the above-requested

 7        continuance would deny them the reasonable time necessary for effective preparation, taking into

 8        account the exercise of due diligence.

 9               d)      The government does not object to the continuance.

10               e)      Based on the above-stated findings, the ends of justice served by continuing the

11        case as requested outweigh the interest of the public and the defendant in a trial within the

12        original date prescribed by the Speedy Trial Act.

13               f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14        et seq., within which trial must commence, the time period of January 9, 2020 to April 23, 2020,

15        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

16        because it results from a continuance granted by the Court at defendants’ request on the basis of

17        the Court’s finding that the ends of justice served by taking such action outweigh the best interest

18        of the public and the defendant in a speedy trial.

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20                                       [CONTINUED ON NEXT PAGE]

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     STIPULATION REGARDING EXCLUDABLE TIME              2
30   PERIODS UNDER SPEEDY TRIAL ACT
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 1          5.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5

 6
     Dated: January 7, 2020                                   MCGREGOR W. SCOTT
 7                                                            United States Attorney
 8
                                                              /s/ DAVID W. SPENCER
 9                                                            DAVID W. SPENCER
                                                              Assistant United States Attorney
10

11
     Dated: January 7, 2020                                   /s/ DINA SANTOS
12                                                            DINA SANTOS
                                                              Counsel for Defendant
13                                                            FIDEL SANCHEZ-CRUZ
14   Dated: January 7, 2020                                   /s/ HAYES H. GABLE, III
                                                              HAYES H. GABLE, III
15                                                            Counsel for Defendant
                                                              AGUSTIN CRUZ-SANCHEZ
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18                                                    ORDER
19          IT IS SO ORDERED.
20 Dated: January 10, 2020
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      STIPULATION REGARDING EXCLUDABLE TIME               3
30    PERIODS UNDER SPEEDY TRIAL ACT
